Case 8:13-bl<-06404-CPI\/| Doc K:tied|§/il§d/\Q$/Sl/l$ Page 1 of 4
AUG 31 2018

CLERK, US BANKRUPTCY COURT
|V||DDLE D|STR|CT OF FLOR|DA
Tampa D|V|S|ON

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MiDDLE DisTRlcT or FLoRioA
TAMPA DivisioN

ln re: ) Case No: 8-13-bk~06404 CPl\/l
Jennifer Kaye Marlow ) Chapter 7
Debtor )

AMENDED VERlFlED MOT|ON TO AVOID JUD|C|AL LlEN
OF J. P. MORGAN CHASE BANK N.A. ON EXEMPT PROPERTY

 

NCT|CE OF OPPORTUNlTY TO OB.IECT AND REQUEST FOR HEARlNG

 

Pursuant to Local Rule 2002-4, the Court will consider the relief requested inthis paper
without further notice or hearing unless a party in interest files a response within 21 days from
the date set forth on the attached proof of service, plus an additional three days for service if
any party is served by U. S. l\/lail.

lf you object to the relief requested in this paper, you must file a response with the
Clerk of the Court at 801 N Florida Ave, Tampa, FL 33602 and serve a copy on the
movant, Jennifer Kaye Nlarlow 5317 Fruitville Road # 159, Sarasota, Florida 34232, and
any other appropriate persons within the time allowed lf you file and serve a response
within the time permitted, the Court will either schedule and notify you of a hearing, or
consider the response and grant or deny the relief requested without a hearing.

lf you do not file a response within the time perm itted, the Court Will consider
that you do not oppose the relief requested in the paper , will proceed to consider the
paper without further notice or hearing, and may grant the relief requested

Debtor, Jennifer Kaye l\/larlow, files this Motion to Avoid the Judicial lien

of J. P. l\/lorgan Chase Bank National Association. and states as follows:

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1. Debtor filed to reopen Chapter 7 case on July 23, 2018

2. Debtor seeks to avoid the judicial lien of J. P. MORGAN CHASE BANK
N.A. that was created by the filing of UNlFORl\/l FlNAL JUDGMENT
OF lVlORTGAGE FORECLOSURE at Document Number 2012148601 on

11-13-2012 3:33:33 PlVl of the Public Records of Sarasota County Florida.

3. The Lien impairs the following property that is otherwise exempt under

11 u s 0522 (f) , 552

2558 Bahia Vista Street, Sarasota, Florida

LOTS 13 AND 15, BLOCK A, RUST|C LODGE AS PER PLAT
THEREOF RECORDED lN PLAT BOOK1 PAGE 155 OF THE
PUBL|C RECORDS OF SARASOTA CGUNTY FLOR|DA
PARCEL |D# 20035020049.

WHEREFORE, the Debtor respectfully requests that the Court enter an order avoiding
the Lien and for such other and further relief as the Court deems appropriate

s / f
Dated: /‘2`3 2~0'7

 

nifer Kaye Marlow, sui juris
5317 Fruitvi||e Road # 159
Sarasota, Florida 34232

 

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PROOF OF SERV|CE

A true and correct copy of the foregoing has been sent by either electronic
transmission of U. S. Nlail on g " ¢Z 3 ’»ZO/Z/to '. All creditors and interested

parties as listed on the attached matrix.

   

ennifer Kaye Nlarlo
5317 Fruitvi||e Road, # 159
Sarasota, Florida 34232

Attorney for Plaintiff (J.P. MORGAN CHASE BANK N. A.)
KAHANE & ASSOCIATES. P.A.

8201 PETERS ROAD. SU|TE 3000

PLANTAT|ON, FLOR|DA 33324

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TELEPHONE: (954) 382-3486

TELEFACS|M|L|E: (954) 382-5380

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THE SCHOOL BOARD OF SARASOTA COUNTY l C l.§._..`j.i§..
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